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                Exhibit C
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10   Attorneys for Defendant TOTAL MERCHANT SERVICES, INC.
11                                UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13   ABANTE ROOTER AND PLUMBING, INC, a Case No: 3:19-cv-05711
     California corporation, individually and on
14   behalf of all others similarly situated,    DEFENDANT’S SUPPLEMENTAL
                                                 RESPONSES AND OBJECTIONS TO
15                   Plaintiff,                  PLAINTIFF’S FIRST SET OF REQUESTS
                                                 FOR PRODUCTION
16           vs.
17   TOTAL MERCHANT SERVICES, LLC., a                   Date Action Filed: September 11, 2019
     Delaware limited liability company,
18
                    Defendant.
19

20

21          Defendant, TOTAL MERCHANT SERVICES, LLC (“Defendant” or “TMS”), by and

22   through undersigned counsel, hereby serves its supplemental responses and objections to the First

23   Set of Requests for Production (“Requests”) dated December 23, 2019, and served by Plaintiff,

24   ABANTE ROOTER AND PLUMBING, INC. (“Plaintiff”), and states as follows:

25                                   PRELIMINARY STATEMENT

26          The following supplemental responses and objections to the Requests (the “Responses”)

27   are made solely for the purpose of this action. TMS has not completed its investigation of the facts

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 1   REQUEST NO. 3: All Documents sufficient to Identify all Persons who You (or a third-party
 2   acting on Your behalf of for Your benefit) caused to be called on their cellphones, for the same
 3   purpose Plaintiff was called, using the same Dialing Equipment that was used to call the Plaintiff,
 4   where the Lead Information regarding such person was obtained through the same source through
 5   which Plaintiff’s phone number and/or consent to call Plaintiff was obtained.
 6   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
 7   did not place the alleged telephone calls to Plaintiff at issue in the Complaint. Plaintiff does not
 8   allege but merely advises TMS of Plaintiff’s belief that a non-party named Triumph placed the
 9   alleged telephone calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS. As
10   such, TMS attempted to contact Triumph to seek to ascertain whether Triumph placed the alleged
11   telephone calls to Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and
12   documentation surrounding such alleged telephone calls. Triumph has not responded to TMS.
13   Accordingly, TMS is not in possession of documents that may be responsive to this Request at this
14   time.
15           The objections that apply to this continue as follows:
16           TMS objects to this Request as argumentative to the extent the Request purports to assume
17   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
18   the extent it calls for a legal conclusion and speculation. TMS further objects to the phrase
19   “sufficient to Identify” as vague and ambiguous. TMS further objects to this Request and its
20   inclusion of “All Documents” as overly broad and unduly burdensome on its face. TMS further
21   objects to the respective definitions of the terms “Dialing Equipment” and “You” as set forth in
22   General Objections B & C, supra. TMS further objects to the capitalized term “Lead Information”
23   as vague and ambiguous, particularly where, as here, the capitalized term is not defined by the
24   Requests. Instead, TMS interprets “Lead Information” to mean “contact information” in a good
25   faith attempt to respond to this Request.
26

27

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 1   REQUEST NO. 4: For all Persons Identified in Documents produced in Your response to Request
 2   to Produce No. 3 above, all Documents sufficient to Identify the number of times You caused (or
 3   a third-party acting on Your behalf or for Your benefit caused) each such Person to be called,
 4   including the dates and times of all such calls.
 5   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
 6   did not identify any Persons in response to Request No. 3. Accordingly, TMS is not in possession
 7   of documents that may be responsive to this Request at this time.
 8          The objections that apply to this Request continue as follows:
 9          TMS objects to this Request to the extent it calls for a legal conclusion and speculation.
10   TMS further objects to the phrase “sufficient to Identify” as vague and ambiguous. TMS further
11   objects to this Request and its inclusion of “all Documents” as overly broad and unduly
12   burdensome on its face. TMS further objects to the definition of the term “You” as set forth in
13   General Objection C, supra.
14

15   REQUEST NO. 5: All Documents sufficient to Identify Your complete contract or other
16   arrangement or agreement with any third party from whom You obtained Plaintiff’s phone number
17   or consent to call Plaintiff or who called Plaintiff on Your behalf, for Your benefit, or under any
18   contract or agreement with You.
19   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
20   did not place the alleged telephone calls to Plaintiff at issue in the Complaint. Plaintiff does not
21   allege but merely advises TMS of Plaintiff’s belief that a non-party named Triumph placed the
22   alleged telephone calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS. As
23   such, TMS contacted Triumph in an attempt to ascertain whether Triumph placed the alleged
24   telephone calls to Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and
25   documents surrounding such alleged telephone calls. Without conceding or otherwise admitting
26   the propriety of Plaintiff’s unalleged belief, TMS will produce any contracts between TMS and
27   Triumph that are in TMS’ possession.
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 1          The objections that apply to this continue as follows:
 2          TMS objects to this Request as argumentative to the extent the Request purports to assume
 3   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
 4   the extent it calls for a legal conclusion and speculation. TMS further objects to the phrase
 5   “sufficient to Identify” as vague and ambiguous. TMS further objects to this Request and its
 6   inclusion of “all Documents” as overly broad and unduly burdensome on its face. TMS further
 7   objects to the definition of the term “You” as set forth in General Objection C, supra.
 8

 9   REQUEST NO. 6: All Documents sufficient to Identify any third part(ies) from or through whom
10   You obtained Lead Information regarding the Plaintiff including Your complete contract or other
11   arrangement or agreement with any such third part(ies).
12   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
13   is not in possession of documents that may be responsive to this Request.
14          The objections that apply to this continue as follows:
15          TMS objects to this Request as argumentative to the extent the Request purports to assume
16   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
17   the extent it calls for a legal conclusion and speculation. TMS further objects to the phrase
18   “sufficient to Identify” as vague and ambiguous. TMS further objects to this Request and its
19   inclusion of “All Documents” as overly broad and unduly burdensome on its face. TMS further
20   objects to the definition of the term “You” as set forth in General Objection C, supra. TMS further
21   objects to the capitalized term “Lead Information” as vague and ambiguous, particularly where, as
22   here, the capitalized term is not defined by the Requests.        Instead, TMS interprets “Lead
23   Information” to mean “contact information” in a good faith attempt to respond to this Request.
24

25   REQUEST NO. 7: All Documents sufficient to Identify any third part(ies) from or through whom
26   You obtained Lead Information regarding any Person besides the Plaintiff who You (or any third
27   party acting on Your behalf of For Your benefit) caused to be called on the Person’s cellphone for
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 1   the same purpose for which Plaintiff was called using the same Dialing Equipment that was used
 2   to call the Plaintiff.
 3   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
 4   is not in possession of documents that may be responsive to this Request.
 5           The objections that apply to this continue as follows:
 6           TMS objects to this Request as argumentative to the extent the Request purports to assume
 7   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
 8   the extent it calls for a legal conclusion and speculation. TMS further objects to the phrase
 9   “sufficient to Identify” as vague and ambiguous. TMS further objects to this Request and its
10   inclusion of “All Documents” as overly broad and unduly burdensome on its face. TMS further
11   objects to the respective definitions of the terms “Dialing Equipment” and “You” as set forth in
12   General Objections B & C, supra. TMS further objects to the capitalized term “Lead Information”
13   as vague and ambiguous, particularly where, as here, the capitalized term is not defined by the
14   Requests. Instead, TMS interprets “Lead Information” to mean “contact information” in a good
15   faith attempt to respond to this Request.
16

17   REQUEST NO. 8: All emails exchanged between You and any lead source, or between You and
18   any other third person, from or through whom You obtained Lead Information regarding Plaintiff
19   or any other Person who You called for the same purpose for which Plaintiff was called using the
20   same Dialing Equipment that was used to call the Plaintiff.
21   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
22   is not in possession of documents that may be responsive to this Request.
23           The objections that apply to this Request continue as follows:
24           TMS objects to this Request as argumentative to the extent the Request purports to assume
25   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
26   the extent it calls for a legal conclusion and speculation. TMS further objects to the respective
27   definitions of the terms “Dialing Equipment” and “You” as set forth in General Objections B &
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 1   C, supra. TMS further objects to the capitalized term “Lead Information” as vague and ambiguous,
 2   particularly where, as here, the capitalized term is not defined by the Requests. Instead, TMS
 3   interprets “Lead Information” to mean “contact information” in a good faith attempt to respond to
 4   this Request.
 5

 6   REQUEST NO. 9: All Documents sufficient to Identify the Dialing Equipment that was used to
 7   make any call(s) to Plaintiff.
 8   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
 9   did not place the alleged telephone calls to Plaintiff at issue in the Complaint. Plaintiff does not
10   allege but merely advises TMS of Plaintiff’s belief that a non-party named Triumph placed the
11   alleged telephone calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS. As
12   such, TMS attempted to contact Triumph to seek to ascertain whether Triumph placed the alleged
13   telephone calls to Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and
14   documentation surrounding such alleged telephone calls. Triumph has not responded to TMS.
15   Accordingly, TMS is not in possession of documents that may be responsive to this Request at this
16   time.
17           The objections that apply to this Request continue as follows:
18           TMS objects to this Request as argumentative to the extent the Request purports to assume
19   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
20   the extent it calls for speculation. TMS further objects to the phrase “sufficient to Identify” as
21   vague and ambiguous. TMS further objects to the definition of the term “Dialing Equipment” as
22   set forth in General Objection B, supra.
23

24   REQUEST NO. 10: All Documents sufficient to Identify the purpose of all calls that were made
25   to Plaintiff.
26   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
27   did not place the alleged telephone calls to Plaintiff at issue in the Complaint. Plaintiff does not
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 1   for purposes of this action. To the extent TMS responds to this Request, TMS will only produce
 2   documents in its possession, if any, concerning the purported, but unalleged, activity of Triumph.
 3   TMS further objects to the phrase “sufficient to Identify” and the term “coding” as vague and
 4   ambiguous. TMS further objects to this Request and its inclusion of “All Documents” as overly
 5   broad and unduly burdensome on its face. TMS further objects to the definition of the term “You”
 6   as set forth in General Objection C, supra. TMS further objects to this Request to the extent it
 7   seeks to intrude upon the attorney-client communications privilege and the attorney work-product
 8   doctrine.
 9
10   REQUEST NO. 18: All Documents sufficient to Identify any Persons who You caused (or a third
11   party acting on Your behalf or for Your benefit caused) to be called after the persons had requested
12   to no longer receive such calls, including all Documents sufficient to Identify the number of calls
13   made to each such person after their do not call request and the dates of all such calls.
14   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
15   does not place telemarketing calls as assumed by this Request. Notwithstanding the foregoing and
16   in light of Plaintiff’s unalleged belief that a non-party named Triumph placed the alleged telephone
17   calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS, as such, TMS attempted
18   to contact Triumph to seek to ascertain whether Triumph placed the alleged telephone calls to
19   Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and documentation
20   surrounding such alleged telephone calls. Triumph has not responded to TMS. Accordingly, TMS
21   is not in possession of documents that may be responsive to this Request at this time.
22          The objections that apply to this Request continue as follows:
23          TMS objects to this Request as argumentative to the extent the Request purports to assume
24   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request as
25   irrelevant, not proportional to the needs of the case, overbroad, and unduly burdensome in that it
26   is not limited in scope or refined to the issues framed by the pleadings. To the extent TMS responds
27   to this Request, TMS will only provide documents concerning the purported, but unalleged,
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 1   activity of Triumph. TMS further objects TMS objects to the phrase “sufficient to Identify” as
 2   vague and ambiguous. TMS further objects to this Request and its inclusion of “All Documents”
 3   as overly broad and unduly burdensome on its face. TMS further objects to this Request to the
 4   extent it calls for a legal conclusion and speculation. TMS further objects to the definition of the
 5   term “You” as set forth more fully in General Objection C, supra.
 6

 7   REQUEST NO. 19: All Documents sufficient to Identify any training of Your personnel in the
 8   existence and use of any Internal Do Not Call List or related procedures that You have caused to
 9   be maintained.
10   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
11   does not place telemarketing calls as assumed by this Request. Notwithstanding the foregoing and
12   in light of Plaintiff’s unalleged belief that a non-party named Triumph placed the alleged telephone
13   calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS, as such, TMS attempted
14   to contact Triumph to seek to ascertain whether Triumph placed the alleged telephone calls to
15   Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and documentation
16   surrounding such alleged telephone calls. Triumph has not responded to TMS. Accordingly, TMS
17   is not in possession of documents that may be responsive to this Request at this time.
18          The objections that apply to this Request continue as follows:
19          TMS objects to this Request as argumentative to the extent the Request purports to assume
20   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request as
21   irrelevant and overbroad in that it is not limited in scope. Specifically, Plaintiff contends a non-
22   party named Triumph, and not TMS, placed the telephone calls to Plaintiff at issue in the
23   Complaint. Thus, the policies of TMS as it relates to “Internal Do Not Call Lists” are not relevant
24   for purposes of this action. To the extent TMS responds to this Request, TMS will only produce
25   documents in its possession, if any, concerning the purported, but unalleged, activity of Triumph.
26   TMS further objects to the phrases “sufficient to Identify” and “related procedures” as vague and
27   ambiguous. TMS further objects to this Request and its inclusion of “All Documents” as overly
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 1   broad and unduly burdensome on its face. TMS further objects to the definition of the term “You”
 2   as set forth in General Objection C, supra. TMS further objects to this Request to the extent it
 3   seeks to intrude upon the attorney-client communications privilege and the attorney work-product
 4   doctrine.
 5

 6   REQUEST NO. 21: All Documents sufficient to Identify any Persons whose phone numbers
 7   were registered on the National Do Not Call Registry for at least thirty (30) days who You caused
 8   (or a third party acting on Your behalf or for Your benefit caused) to be called at least twice in any
 9   12-month period.
10   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
11   does not place telemarketing calls as assumed by this Request. Notwithstanding the foregoing and
12   in light of Plaintiff’s unalleged belief that a non-party named Triumph placed the alleged telephone
13   calls to Plaintiff at issue in the Complaint purportedly on behalf of TMS, as such, TMS attempted
14   to contact Triumph to seek to ascertain whether Triumph placed the alleged telephone calls to
15   Plaintiff at issue in the Complaint, and, if so, the facts, circumstances, and documentation
16   surrounding such alleged telephone calls, including its calling records. Triumph has not responded
17   to TMS. Accordingly, TMS is not in possession of documents responsive to this Request at this
18   time.
19           The objections that apply to this Request continue as follows:
20           TMS objects to this Request as argumentative to the extent the Request purports to assume
21   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request as
22   irrelevant, not proportional to the needs of the case, overbroad, and unduly burdensome in that it
23   is not limited in scope or refined to the issues framed by the pleadings. To the extent TMS responds
24   to this Request, TMS will only provide documents concerning the purported, but unalleged,
25   activity of Triumph. TMS further objects to this Request to the extent it calls for a legal conclusion
26   and speculation.    TMS further objects to the phrase “sufficient to Identify” as vague and
27   ambiguous. TMS further objects to this Request and its inclusion of “All Documents” as overly
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 1   broad and unduly burdensome on its face. TMS further objects to the definition of the term “You”
 2   as set forth in General Objection C, supra.
 3

 4   REQUEST NO. 25: All contracts or written understandings between You and Triumph Merchant
 5   Solutions.
 6   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
 7   will produce documents that may be responsive to this Request.
 8            The objections that apply to this Request continue as follows:
 9            TMS further objects to the phrase “written understandings” as vague and ambiguous. TMS
10   further objects to the definition of the term “You” as set forth in General Objection C, supra.
11

12   REQUEST NO. 26: All Communications between You and Triumph Merchant Solutions
13   regarding the placement of telemarketing calls on Your behalf or for Your benefit.
14   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
15   will produce documents that may be responsive to this Request.
16            TMS objects to this Request as argumentative to the extent the Request purports to assume
17   certain facts or otherwise poses mere allegations as fact. TMS further objects to this Request to
18   the extent it calls for a legal conclusion and speculation. TMS further objects to this Request and
19   its inclusion of “All Communications” as overly broad and unduly burdensome on its face. TMS
20   further objects to the respective definitions of the term “You” as set forth in General Objection C,
21   supra.
22

23   REQUEST NO. 27: All Communications between You and Triumph Merchant Solutions
24   regarding Your Internal Do Not Call List.
25   SUPPLEMENTAL RESPONSE: Subject to and without waiving the following objections, TMS
26   directs Plaintiff to Supplemental Response No. 26.
27            The objections that apply to this Request continue as follows:
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